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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO



  Civil Action No. __​1:20:cv:01854-LTB-GPG​________

  Taylor Jade Hickerson

                Plaintiff
  V.

  Greenway Flats

                Defendant



                        MOTION: ​Release of Funds




  Cannot get in contact with defendants.




                                                          s/ Taylor Jade Hickerson
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